      Case 4:20-cv-05640-YGR          Document 1482        Filed 04/23/25      Page 1 of 6




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSES TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Responses to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents from April 15, 2025. We are submitting these documents for in-camera
review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
      Case 4:20-cv-05640-YGR           Document 1482        Filed 04/23/25      Page 2 of 6




Emails Relating to Developer Communications: Entry Nos. 5699 (PRIV-APL-
EG_00205905), 5715 (PRIV-APL-EG_00206033), 5735 (PRIV-APL-EG_00206177), 5739
(PRIV-APL-EG_00206197), 8035 (PRIV-APL-EG_00229371), 8347 (PRIV-APL-
EG_00231624)

        PRIV-APL-EG_00205905 is an email exchange initiated by a non-lawyer seeking
feedback from Sean Cameron and Jason Cody (both in-house counsel) regarding an inquiry from
a developer about the interpretation and application of certain App Store developer rules. Mr.
Cameron adds to the thread Candace Martin, another in-house counsel, for her input, and there is
a discussion between Mr. Cameron and the non-lawyer about the request for legal advice. Because
this is an exchange soliciting and providing legal advice, it is privileged. See United States v.
Sanmina Corp., 968 F.3d 1107, 1116 (9th Cir. 2020).

        PRIV-APL-EG_00206033 is an email summary from a non-lawyer to Sean Cameron,
Jason Cody, Sean Dillon, and Doug Vetter (all in-house counsel), with other non-lawyers cc’ed,
relaying a conversation the sender had with a developer about certain policy questions relevant to
the App Store. PRIV-APL-EG_00206177 is a continuation of the same email thread, in which
Mr. Cameron comments on and responds to the email summary. Both documents consist of “client
communications intended to keep the attorney apprised of continuing business developments, with
an implied request for legal advice based thereon,” In re CV Therapeutics, Inc. Sec. Litig., 2006
WL 1699536, at *4 (N.D. Cal. June 16, 2006), and the second includes an express provision of
legal advice, see Labbe v. Dometic Corp., 2023 WL 5672950, at *4 (E.D. Cal. Sept. 1, 2023);
United States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002). They are
both privileged.

        PRIV-APL-EG_00206197 is similar to PRIV-APL-EG_00205905. It is an email exchange
initiated by a non-lawyer seeking feedback from Sean Cameron and Jason Cody (both in-house
counsel) regarding an inquiry from a developer about the interpretation and application of certain
App Store developer rules. Although Mr. Cameron is less active in this thread, there is still an
express request for legal advice to an attorney and responsive advice from Mr. Cameron. The
exchange is therefore privileged. See Sanmina Corp., 968 F.3d at 1116.

        PRIV-APL-EG_00231624 is an email exchange initiated by outside counsel requesting
information to help prepare for a presentation at a European Commission event regarding Apple’s
compliance with new regulatory requirements in the European Union. The non-lawyers at Apple
thereafter correspond with one another and coordinate regarding the organization and transmission
of that information at the request of outside counsel. Because the email exchange concerns the
preparation of information at the direction of counsel for the purpose of obtaining legal advice, it
is privileged. See FTC v. Boehringer Ingelheim Pharms., Inc., 180 F. Supp. 3d 1, 30 (D.D.C.
2016).

       Apple will produce PRIV-APL-EG_00229371 without redaction.




                                                 2
      Case 4:20-cv-05640-YGR          Document 1482        Filed 04/23/25      Page 3 of 6




Email Concerning Digital Markets Act: Entry No. 7717 (PRIV-APL-EG_00225069)

       PRIV-APL-EG_00225069 is an email exchange regarding the nomenclature used in
connection with certain new App Store features and changes. The email exchange is initiated by
a non-lawyer requesting advice from Ling Lew (in-house counsel) about that nomenclature, after
which a discussion ensues among Ms. Lew and other non-lawyers. The discussion does not
address public relations issues related to nomenclature, but rather involves substantive questions
about which description is most accurate. Because the exchange is a discussion soliciting and
providing legal advice, it is privileged. See Sanmina Corp., 968 F.3d at 1116.




                                                3
      Case 4:20-cv-05640-YGR           Document 1482        Filed 04/23/25      Page 4 of 6




Emails Concerning Korea Regulatory Issues: Entry Nos. 7868 (PRIV-APL-EG_00228278),
7877 (PRIV-APL-EG_00228328)

       PRIV-APL-EG_00228278 is an email exchange initiated by Kyle Andeer (in-house
counsel) relaying a discussion with Kate Adams (General Counsel) about an ongoing investigation
by the Korea Communications Commission relevant to the App Store. Mr. Andeer seeks
information and updates about the different options under consideration for the primary purpose
of preparing a response to a request from the Korea Communications Commission. Various non-
lawyers thereafter discuss the approaches under consideration. Because the email exchange is a
request from in-house counsel seeking information for the purpose of providing legal advice and
advocacy in connection with an ongoing regulatory matter, it is privileged. See Boehringer
Ingelheim Pharms., 180 F. Supp. 3d at 30.

        PRIV-APL-EG_00228328 is an email exchange initiated by Sean Cameron (in-house
counsel) to Sean Dillon (also in-house counsel) and two non-lawyers. The email concerns a
presentation deck regarding App Store changes being considered in Korea. Mr. Cameron states
that he had “added an overview of the law to the deck”—a legal task resulting in legal advice—
and relays a conversation he had with Mr. Dillon regarding potential App Store changes. A non-
lawyer responds with a question and thoughts directed to Mr. Cameron regarding some of the
content in the deck, and another non-lawyer raises a question to Mr. Cameron seeking information
about how Apple could enforce its legal rights. The fact that Mr. Cameron in other documents
provides business feedback does not negate the privilege when he is providing advice in his
capacity as in-house counsel. The exchange contains legal advice and confidential information
exchanged for the purpose of soliciting legal advice, and it is therefore privileged. See In re Meta
Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024); ChevronTexaco Corp., 241
F. Supp. 2d at 1076.




                                                 4
      Case 4:20-cv-05640-YGR          Document 1482         Filed 04/23/25     Page 5 of 6




Emails Concerning Injunction Compliance: Entry Nos. 7968 (PRIV-APL-EG_00229040),
8180 (PRIV-APL-EG_00230063)

        PRIV-APL-EG_00229040 is an email sent from Sean Cameron (in-house counsel) to two
non-lawyers seeking clarification about an option for injunction compliance then under
consideration. Mr. Cameron’s email is directed at understanding the contours of the option for the
purpose of discussing arguments in support of Apple’s compliance efforts, and he states as much
in the body of the email. Because this is a request for confidential information from an attorney
in pursuit of providing legal advice, it is privileged. See In re Meta Healthcare Litig., 2024 WL
3381029, at *2. The fact that other communications concerning Apple’s injunction compliance
efforts were held to not be privileged does not negate the privilege as to communications from in-
house counsel about legal advice.

        PRIV-APL-EG_00230063 is an email from Sean Cameron (in-house counsel) to a non-
lawyer offering a “pitch[]” for an injunction compliance option. The content of the email makes
clear that Mr. Cameron was offering this option from a legal perspective, as he references the
strength of the arguments for compliance and suggests the “litigators” will need to weigh in on the
proposal. Because this message is an express provision of legal advice, it is privileged. See
ChevronTexaco Corp., 241 F. Supp. 2d at 1076.




                                                5
    Case 4:20-cv-05640-YGR   Document 1482      Filed 04/23/25   Page 6 of 6




DATED: April 23, 2025                   WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




                                    6
